         Case 1:19-cv-03599-GMH Document 30 Filed 10/17/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  Masih Alinejad;

                                     Plaintiff,

                          vs.                         Case Number: 1:19-cv-03599-GMH

  The Islamic Republic of Iran et al.;

                                   Defendants.


                                PLAINTIFF’S STATUS REPORT

          Plaintiff Masih Alinejad, by and through her undersigned counsel, respectfully

submits this Status Report to apprise the Court of the anticipated timeline for the filing of her

renewed Motion for Default Judgment in the above-captioned civil matter.

                                              History

          On February 11, 2022, the Court held a status conference with Plaintiff’s Counsel in

the above-captioned civil matter. As a result of the status conference, the Court entitled

Plaintiff to address the issues discussed in a renewed Motion for Default Judgment. Later that

day, Plaintiff filed a Motion to Withdraw her Motion for Default Judgment without prejudice,

which this Court granted, in anticipation of filing a renewed Motion for Default Judgment.

The Court did not set a filing deadline and on June 7, 2022, ordered Plaintiff to submit this

Status Report to inform the Court of when a renewed Motion for Default Judgment will be

filed.

                                           Status Report

          Since the February 11, 2022, status conference, Plaintiff has been addressing the issues

discussed with the Court during the status conference. Plaintiff intends to file the renewed



Page 1 of 2
     Case 1:19-cv-03599-GMH Document 30 Filed 10/17/22 Page 2 of 2




Motion for Default Judgment in the above-captioned civil matter by Monday, December 5,

2022.



Dated: October 17, 2022

                                                  Respectfully submitted,




                                                   ___/s/_____________________

                                                   Ali Herischi, Esq. (MD0024)
                                                   Herischi & Associates LLC
                                                   7201 Wisconsin Ave., Suite 440
                                                   Bethesda, Maryland 20814
                                                   Phone: 301-363-4540
                                                   Attorney for Plaintiff




Page 2 of 2
